Case 2:16-cv-07528-AB-GJS Document 1

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PLAINTIFF IN PRO PER

MITCHELL MILLER

Plaintiff,
V.

BANK OF AMERICA, N.A. AS
SUCCESSOR IN INTEREST TO
AMERICA’S WHOLESALE LENDER
ITS SUCCESSORS AND/OR ASSIGNS;
THE BANK OF NEW YORK MELLON
FKA THE BANK OF NEW YORK AS
TRUSTEE FOR THE ALTERNATIVE
LOAN TRUST 2005-86CB, AND
BAYVIEW LOAN SERVICING, LLC;
and DOES 1-10, Inclusive,

Defendants.

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Filed 10/07/16 Page 1of33 Page ID#1

EASTERN DIVISION X

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CV514eN7528 REK(¢

COMPLAINT FOR:

1. Fraud

2. Breach of the Implied Covenant of
Good Faith & Fair Dealing

3. Void and/or Cancel Ab Initio Deeds
of Trust & Promissory Notes

4. Cancellation of a Voidable Contract

Under California Revenue & Tax
Code §§ 23304.1, 23305a, et seq.

. Violation of California Corporations

Code § 191(C)(7)

Breach of Fiduciary Duty

7. Violation of California Business &
Professions Code § 17200, et seq.

8. Violation of California HBOR Civil
Code §§ 2924(a)(6), 2924.17

9. Wrongful Foreclosure

10. Declaratory Relief 28 U.S.C. §§
2201, 2202

11. Quiet Title Relating to Violations of
The Federal Truth in Lending Act
(“TILA”), 15 U.S.C. §§ 1635,
1641(g)

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COMPLAINT

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Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 2 of 33 Page ID#:2

Plaintiff, MITCHELL MILLER, (“Plaintiff’ or “MILLER”), for his Complaint against
Defendants BANK OF AMERICA, N.A. AS SUCCESSOR IN INTEREST TO AMERICA’S
WHOLESALE LENDER ITS SUCCESSORS AND/OR ASSIGNS, in its capacity as purported
successor to the original lender, America’s Wholesale Lender, hereinafter referred to as AWL,
THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK AS TRUSTEE
FOR THE ALTERNATIVE LOAN TRUST 2005-86CB, in its capacity as the alleged
beneficiary of the debt obligation, and BAYVIEW LOAN SERVICING, LLC, in its capacity as
purported loan servicer, “collectively” Defendants, pleads and alleges as follows:

STATEMENT OF JURISDICTION

This Court has proper subject matter Jurisdiction over the within action as the real
property, the subject of instant action, is so situated and physically located within this California
Central District Judicial system.

This Court has original jurisdiction over the claims in this action based on 28 USC. ss
1331, 1332, 1343, 2201, 2202, 15 U.S.C. § 1635, and 42 U.S.C. § 1983 which confer original
jurisdiction on federal district courts in suits to address the deprivation of rights secured by
federal law.!

This Court has original jurisdiction over the claims in the action based on 28 US.C. §
1332 which confers original jurisdiction on federal district courts in suits between diverse
citizens that involve an amount in controversy in excess of $75,000.00.

This Court also has supplemental jurisdiction over the pendant state law claims because

' The Ninth Circuit instructs that in actions brought under 28 U.S.C. § 2201, district courts must first determine
whether there is actual controversy within its jurisdiction by analyzing the factors enumerated in Brillhart v. Excess
Ins. Co., 316 U.S. 491 (1942). The Brillhart factors require the Court to 1) avoid needless determination of state
law issues; 2) discourage litigants from filing declaratory actions as a means of forum shopping; and 3) avoid
duplicative litigation. Brillhart, 316 U.S. at 495; see also Schafer v. Citimortgage No. CV 11-0319, 2011 WL
2437267 (C.D. Cal. June 15, 2011). As held by the court in Schafer, this action does not involve a needless
determination of state law issues, does not involve forum shopping, and is not duplicative litigation.

2

COMPLAINT

Case 2:16-cv-07528-AB-GJS Document 1 Filed 10/07/16 Page 3 of 33 Page ID #:3

they form a party of the same case or controversy under Article III of the United States
Constitution, pursuant to 28 U.S.C. § 1367.

The unlawful conduct, illegal practices, and acts complained of and alleged in this
Complaint were all committed in the Central District of California and involved real
property located in the Central District of California. Therefore, venue properly lies in
this District, pursuant to 28 U.S.C. § 1391(b).

SUBJECT REAL PROPERTY AT ISSUE

The Real Property (herein after referred to as “Property”), the subject of any and all claims
of any of the Parties hereto, and which is the subject of instant action, and that of which Plaintiff
prays for a Decree and/or Order for Declaratory Relief thereto. The “Subject Property” address
and legal description is as follows: 11812 S. Main Street, #1, 2, 3, 4, Los Angeles, CA 90061.
Morte particularly, the legal description of this property is:

Lot 35 of Tract No. 3287, in the City of Los Angeles, County of Los Angeles, State of
California, as per map recorded in Book 36, Page 3 of Maps, in the Office of the County
Recorder of said County.

Assessor’s Parcel Number: 6083-018-002

IDENTITY OF PARTIES

Plaintiff is informed and believes, and thereon alleges, that at all times relevant hereto
Defendant, BANK OF AMERICA, NATIONAL ASSOCIATION AS SUCCESSOR IN
INTEREST TO AMERICA’S WHOLESALE LENDER, herein referred to as BOF A,
is a national banking and mortgage lending institution licensed to do business in the State of
California, in and of the County and City where subject “PROPERTY?” is so situated and

physically located which is within this Courts Judicial District.

3

COMPLAINT

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 4 of 33 Page ID #:4

Plaintiff is informed and believes, and thereon alleges, that at all times relevant hereto
Defendant, THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK AS
TRUSTEE FOR THE ALTERNATIVE LOAN TRUST 2005-86CB, herein referred to as
BNYM, is a national banking institution licensed to do business in the State of California, in and
of the County and City where subject “PROPERTY?” is so situated and physically located which
is within this Courts Judicial District.

Plaintiff is informed and believes, and thereon alleges, that at all times relevant hereto
Defendant, BAY VIEW LOAN SERVICING, LLC herein referred to as BAYVIEW, is a
mortgage institution licensed to do business in the State of California, in and of the County and
City where subject “PROPERTY” is so situated and physically located which is within this
Courts Judicial District.

Plaintiff is unaware of the true names and capacities of any individuals and/or entities sued
herein under the fictitious names DOES 1 to 10, inclusive or, to the extent that the names of such
individuals or entities may become known to Plaintiff, and as such Plaintiff cannot state with any
certainty that such a Cause of Action lies herein as against such individuals or entities, or
Plaintiff is unable to alleged the elements of such Cause of Action, at this time, and as such said
Defendant are herein named in accordance with the provisions of (Cal Code of Civil Procedure
Sec. 474). Plaintiff thereon reserves the right to amend instant Complaint to allege the true
names and capacities of such fictitiously named Defendant when the same become known or
when it has been ascertained with reasonable certainty that such Cause of Action hereunder can
be satisfactorily stated and maintained as against each such fictitiously named individual or
entity.

Plaintiff is informed and believes and thereon alleges, that in committing certain acts

4

COMPLAINT

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28

Case 2:16-cv-07528-AB-GJS Document 1 Filed 10/07/16 Page 5 of 33 Page ID#:5

alleged, some or all of the Defendants named were acting as the Agents, Joint Ventures, Partners,
Representatives, Subsidiaries, Affiliates, Associates, Successors, Assigns and/or Employees
and/or Agents or some or all of the other Defendants, and that some or all of the conduct of such
Defendants, as complained of herein, was within the course and scope and agency of such
relationship.

Wherever reference is made in this Complaint to any act of any Defendant(s), that
allegation shall mean that each Defendant acted individually and jointly with the other
Defendants.

Any allegation about acts of any corporate or other business Defendant means that the
corporation or other business did the acts alleged through its officers, directors, employees,
agents and/or representatives while they were acting within the actual or ostensible scope of their
authority.

At all relevant times, each Defendant committed the acts, caused or directed to others to
commit the acts, or permitted others to commit the acts alleged in this Complaint. Additionally,
some or all of the Defendants acted as the agent of the other Defendants, and all of the
Defendants acted within the scope of their agency if acting as an agent of the other.

At all relevant times, Defendant knew or realized that the other Defendants (successors
and/or assigns) were engaging in or planned to engage in the violations of law alleged in this
Complaint. Knowing or realizing that the other Defendant were engaging in or planning to
engage in unlawful conduct, each Defendant nevertheless facilitated the commission of those
unlawful acts, and thereby aided and abetted the other Defendants in the unlawful conduct.

At all times mentioned in this Complaint, Plaintiff, MITCHELL MILLER, is an individual

consumer residing in the County of Los Angeles and is the owner of the certain Subject Property.

5

COMPLAINT

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 6 of 33 Page ID #:6

GENERAL ALLEGATIONS AND FACTS COMMON TO ALL CAUSES OF ACTION
AND TO ALL NAMED DEFENDANTS AND DOE DEFENDANTS

I. MATERIAL FACTS

On December 9, 2005, Plaintiff MILLER executed two Deeds of Trust in favor of
America’s Wholesale Lender, hereinafter referred to as AWL.

On December 20, 2005, AWL caused to be recorded with the Los Angeles County
Recorder’s Office the Deeds of Trust, hereinafter referred to as DOT, and Promissory Note,
hereinafter referred to as Note, recorded as Instrument Numbers 05 3129929 and 05 3129930
respectively. Attached as Exhibit “A” and incorporated herein by reference is a copy of the first
DOT. Attached as Exhibit “B” and incorporated herein by reference is a copy of the second
DOT.

The DOTs shows that on December 8, 2005 when the DOTs were created, Plaintiff was
fraudulently induced to endorse the DOTs and Notes to a non-existent and unregistered
company, AMERICA’S WHOLESALE LENDER (“AWL”).

Plaintiff MILLER, a citizen of California, made payments in good faith based upon the
misrepresented terms of the DOTs and Notes.

Recent discoveries show that AWL was never a registered entity. AWL was never
registered in the State of California, nor were they registered in the State of New York as stated
in the DOTs. AWL was never a corporation that was organized and existing under the laws of
New York. Attached as Exhibit “C” and incorporated herein by reference is a Certificate from
the State of New York, Department of State evidencing that AWL was never registered with the
State of New York. Countrywide may have trademarked the name but they never incorporated

AWL as a LLC or a corporation.

6

COMPLAINT

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 7 of 33 Page ID#:7

Plaintiff MILLER’s Deed of Trust on Page 1 (C) states:

“Lender” is AMERICA’S WHOLESALE LENDER. Lender is a Corporation
organized and existing under the laws of NEW YORK.”

It is clear that the above statement is a lie, a false statement based upon the Certificate of
Incorporation from the State of New York, Department of State.

AWL was a DBA of Countrywide Financial’s Countrywide Home Loans, Inc., hereinafter
referred to as Countrywide. Countrywide began using “America’s Wholesale Lender”, which
was never registered with the State of California, in the early years of the housing boom to
determine which loans were originated on the wholesale market and which loans were originated
by various Countrywide offices throughout the U.S. with MERS (Mortgage Electronic
Registration Systems) named as the nominee for AWL. Attached as Exhibit “D” and
incorporated herein by reference is a Certificate of No Record from the California Secretary of
State.

This created a huge liability for MERS and the people and law firms MERS authorized to
sign for MERS on mortgage assignments because MERS is only allowed to act as nominee for
its members and only assign mortgagee rights for its members. MERS had to know AWL was
NOT and NEVER was a MERS member and that AWL was NOT and NEVER was a New York
corporation as stated on Plaintiff's DOTs.

On July 1, 2008, Bank of America Corporation completed its purchase of Countrywide
Financial Corporation which included Countrywide Bank, N.A and AWL. Due to this
acquisition, Defendant BOFA allegedly became successor in interest to Countrywide and AWL.

As such, Plaintiff MILLER thereby seeks an order of the Court that voids and/or cancels

AB INITIO the DOTs and Notes, and quieting title to Plaintiff MITCHELL MILLER, alone,

7

COMPLAINT

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 8 of 33 Page ID#8

based upon what has been stated above and below.
A. Failed Securitization Attempt

During the Mortgage Boom Era of 2002 to 2007, Wall Street investors looked to feed their
insatiable and reckless greed for profit by tapping directly into the American Dream — home
ownership. Mortgage lenders and investment banks aggressively lured the American people into
predatory loans with teaser interest rates and into purchasing homes with inflated appraisals
under the promise that the booming real estate market would continue to boom. Wall Street took
the soon to be toxic loans and bundled them into “Mortgage Backed Securities” through a
process known as “Securitization.” These “securities” were then sold to investors in the form of
certificates, whereby the investors became the “Certificateholders” of the securities that were to
be fed by the toxic loans.

Knowing that the predatory loans would soon default and turn into toxic assets, Wall
Street placed their bets accordingly and bought exotic insurance products in the form of Credit
Default Swaps.” Thus, when the Mortgage Boom turned into a Mortgage Meltdown (which it
did), they would stand to make even more profit when the mortgage insurance paid them out of

their “losses.”

* In 1995, JPMorgan Chase created the Credit Default Swap (CDS). Essentially, a CDS is a form of insurance
intended to protect the buyer of the policy in case of a loan default. If the loan defaults, the buyer of the CDS
receives a large payout for the cash value of the defaulted loan. The main difference between a traditional insurance
policy and a CDS is that anyone can purchase a CDS, even those who have no direct “insurable interest” in the
lender. CDSs were instrumental during the housing bubble because once the banks ran out of creditworthy
borrowers, they had to turn to uncreditworthy “subprime” borrowers; and to avoid losses from default, they moved
these risky mortgages off their books by bundling them into “securities” and selling them to investors. To induce
investors to buy these securities, the securities were then “insured” with credit default swaps. CDSs allowed
investors to bet against the average American to default on their mortgage with little risk. CDS insurance was
especially attractive to investors who had knowledge of the subprime mortgage industry since they knew the
likelihood of default on those loans was much higher. Notably, AIG Insurance Company (“AIG”), an insurance
carrier who owned a considerable market share of these CDS policies, was unable to make good on these policies
after the housing bubble burst resulting in AIG seeking a government bailout. See Justin Fox, Why the Government
Wouldn't Let AIG Fail?. TIME Business (September 16, 2008)

8

COMPLAINT

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28

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 9 of 33 Page ID #9

However, in their rush to “securitize” the predatory loans, Wall Street failed to actually
follow its own rules and regulations, creating the instant situation where the securities are not
actually backed by any mortgages at all. Under the standard model, the promissory notes were
supposed to be sold and transferred into a trust pool (“Securitized Trust”) that holds the
promissory notes as collateral on the securities bought by investors (“Certificateholders”). These
“true sales” allow the original lenders to move the notes off their books, eliminating the need to
maintain capital- adequacy reserves against default. The purpose of securitizing collateral debt
obligations was to provide a large supply of money to lenders for originating loans, and to
provide investment to bond holders — which were expected to be relatively safe.

The Securitized Trusts, if ever formed properly, are subject to and governed by (1) the
Pooling and Servicing Agreement, hereinafter referred to as PSA; (2) The Mortgage and Loan
Agreement; (3) the 424B5 Prospectus; (4) the common law trust rules of Delaware or New York,
depending on its origin; and (5) Internal Revenue Code section 860A through 860G, better
known as the Real Estate Mortgage Investment Conduit (“REMIC”) rules.

An essential aspect of the mortgage securitization process is that the Trust must obtain and
maintain good title to the mortgage loans comprising the pool for that certificate offering. This
is necessary in order for the Trustee of the purportedly Securitized Trust to be legally entitled to
enforce the mortgage loans in case of default. In addition to other required documentation to
complete the Collateral File of any given loan, two documents relating to each mortgage loan
must be validly transferred to the Trust as part of the securitization process — the Promissory
Note and the Deed of Trust. In this case, on information and belief, neither document was

validly transferred.

http://Awww.time.cony/time/business/article/0.8599.1841699.00.html. Thus, in the end, it was the American taxpayer
who bore the burden of these CDSs.

9

COMPLAINT

(ase 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 10 of 33 Page ID #1

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Here, Plaintiff alleges that the “true sales” never took place due to the failure of the
original lender to follow the basic legal requirements for the transfer of a negotiable instrument.
Plaintiff further alleges that, on information and belief, Defendant BOFA, as Successor to the
original lender AWL, attempted to sell his debt obligation to the Alternative Loan Trust 2005-
86CB, hereinafter referred to as 2005-86CB Trust. Plaintiff alleges that this 2005-86CB Trust,
that purportedly owns Plaintiff's Notes and DOTs, have been dissolved due to the disbursement
and receipt of mortgage insurance payouts to The Bank of New York, the Trustee of the 2005-
86CB Trust, and the Certificateholders (including, but not limited to, Credit Default Swaps and
other exotic mortgage insurance products). As a result of these mortgage insurance payouts,
BNYM and the original lender, AWL, have been paid in full on Plaintiffs debt obligation,
despite the fact that there was never a contract between AWL and Plaintiff.

Plaintiffs information and belief is based on (1) analysis of the Property’s county
records; (2) research, experience, extensive review of depositions, case law, amicus briefs,
correspondence, news articles, reports, and publicly available securitization documents and
practices; (3) filings with the Securities and Exchange Commission (“SEC”).

Plaintiff alleges and believe thereon that on or around the time of origination of Plaintiff's
loan, AWL attempted to securitize and sell Plaintiffs loans to another entity or entities. That
entity was not the 2005-86CB Trust or The Bank of New York Mellon.

After researching his recorded chain of title, Plaintiff alleges on information and belief that
AWL never sold, transferred, or granted Plaintiffs Notes and DOTS to the Sponsor, Depositor,

the 2005-86CBTrust.’ Furthermore, Plaintiff alleges that Defendant BOFA, as Successor to the

3 The Sponsor in a securitization transaction is a specialty finance company engaged in the business of originating,
purchasing and selling retail and wholesale sub-prime mortgage loans secured by one-to-four-family residences.
Here, the Sponsor is Countrywide Home Loans, Inc. The Depositor is the entity that assembles the underlying

10

COMPLAINT

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28

(Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 11of33 Page ID#1

original lender AWL, cannot demonstrate that Plaintiff's Notes and DOTs were ever properly
endorsed and transferred to BNYM, as Trustee of the 2005-86CB Trust.

The parties involved in the alleged Securitization and transfer of Plaintiff's Notes and
DOTs failed to strictly adhere to the PSA, which requires that Plaintiffs Notes and DOTs be
properly endorsed, transferred, accepted, and deposited with the 2005-86CB Trust (or its
custodian) on or about December 28, 2005, the “closing date” indicated on the Prospectus, or 90
days thereafter. The “closing date” is the date by which all of the Notes and DOTs must be
transferred into the 2005-86CB Trust. Attached as Exhibit “E” and incorporated herein by
reference is a copy of the 2005-86CB Trust FWB Prospectus, pages 1-6, obtained from

www.secinfo.com. The failure to do so results in the Notes and DOTs not being part of the

2005-86CB Trust res.

The failure to deposit and transfer the Notes into the 2005-86CB Trust before the closing
date isa violation of the PSA and of New York trust law. Yvanova v. New Century Mortgage
Corp., (2016) 62 Cal.4™ 929; Glaski v. Bank of America, N.A. (2013) 218 Cal.App.4" 1079.
Plaintiff does not allege that he is the beneficiary of the PSA. Rather, Plaintiff alleges that the
failure to securitized his Notes and DOTs makes it impossible for Defendant BNYM as trustee of
the 2005-86CB Trust, to claim, allege or assert that it was assigned, transferred or granted
Plaintiff's Notes and DOTs, or any interest therein, in any manner whatsoever. Plaintiff also
alleges that the failure to securitize his Notes and DOTs has resulted in an unperfected lien that

Defendants cannot enforce in a manner whatsoever.

collateral, helps structure the securities, and works with the financial markets to sell the securities to investors. Here
the Depositor is CWALT, Inc. In order to securitize a mortgage loan and preserve the chain of title, the PSA
requires that “true sales’ take place between the Sponsor and Depositor, and that each entity properly endorse and
deliver the promissory note, and other mortgage loan documents, to the subsequent party until the loan is assigned to
the Securitized Trust.

11

COMPLAINT

Case 2:16-cv-07528-AB-GdS Document1 Filed 10/07/16 Page 12 of 33 Page ID#:1

In accordance with the precise terms and REMIC provisions of the PSA (i.e., required
“true sale” of each mortgage loan), securitization Sponsor/Seller and Depositor were each paid
in full for selling Plaintiff's mortgage loan in the verified securitization transaction. However, a
review of the chain of title of the mortgage property in the official records of the Los Angeles
County Recorder does not show any valid assignment(s) of the DOTs from original lender AWL,
to all of the aforementioned entities, on or about December 28, 2005, the Closing date of the
REMIC MBS Trust, or 90 days thereafter.

Therefore, there is no record of the required intervening assignments of the DOTs from
original lender AWL, to Sponsor/Seller to Depositor to the Issuing Entity, to the Trustee of the
2005-86CB Trust, within the time frame allowed under the PSA. This was a material breach of
the binding and governing terms of the trust agreement, which resulted to an irreversible break in
the chain of title of the property and ownership of Plaintiffs’ mortgage loan — with the present

beneficiary, mortgagee and successor lender unassigned, undocumented and UNKNOWN to

date.

On November 8, 2010, an Assignment of Deed of Trust was executed and subsequently
recorded on November 15, 2010 which allegedly assigned all beneficial interest in the DOT to
BNYM. A copy of the Assignment of Deed of Trust is attached hereto as Exhibit “F” and
incorporated herein by reference. Based on the aforementioned, the Assignment of Deed of
Trust is void on its face and is a complete nullity. Plaintiff adamantly disputes the contents of
the Assignment of Deed of Trust.

B. Material Facts Leading to Plaintiff’s Right to Rescind
On May 20, 2009, as part of The Helping Families Save Their Homes Act of 2009, Section

404(a) of the 2009 Act amended TILA to establish a new requirement for notifying consumers of

12

COMPLAINT

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Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 13 of 33 Page ID#:1

the sale or transfer or their mortgage loans. The purchaser or assignee that acquires the loan
must provide the required disclosures no later than 30 days after the date on which it acquired the
loan. This provision is contained in TILA Section /31(g), 15 U.S.C. 1641(g) and it applies to
any consumer credit transaction secured by the dwelling of a consumer. Mortgage loans sold, or
otherwise transferred on or after that date became subject to the requirements of Section 131(g)
and failure to comply can result in civil liability under TILA Section 130(a). See 15 U.S.C.
1640(a).

The TILA amendment seeks to ensure that consumers attempting to exercise the right to
rescind know the identity of the assignee and how to contact the assignee or its agent for that
purpose.

Assignee liability is an important issue in rescission. Section 131 specifically exempts
rescission from this rule so a borrower could compel the assignee of a loan with violations
triggering the right of rescission to rescind the loan, even though the violations are not
apparent on the face of the disclosure statement.

Section 131 of TILA states as follows:

(g) NOTICE TO NEW CREDITOR-

(1) IN GENERAL ~ In addition to other disclosures required by
this title, not later than 30 days after the date on which a
mortgage is sold or otherwise transferred or assigned to a third
party, the creditor that is the new owner or assignee of the debt
shall notify the borrower in writing of such transfer, including-
(A) the identify, address, telephone number of the new creditor;

(B) the date of transfer;

(C) how to reach an agent or party having authority to act on
behalf of the new creditor;
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13

COMPLAINT

OF

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 14 of 33 Page ID#1

(D) the location of the place where transfer of ownership of the
debt is recorded; and

(E) any other relevant information regarding the new creditor.

Plaintiff alleges that he never received a 404 Notice informing him of BYNM’s beneficial
ownership in his debt obligation. Although the DOT and Assignment of Deed of Trust is void on
its face, Plaintiff's right to rescind was extended under TILA. Plaintiff exercised his right under
TILA. On September 14, 2014, pursuant to 1/5 U.S.C. § 1635, Plaintiff rescinded the Transaction
by mailing a Notice of Rescission to his alleged servicer, Defendant BAYVIEW. A copy of the
Notice of Rescission and the record of mailing from the United States Postal Service is attached
hereto as Exhibit “G” and incorporated by reference. BAYVIEW received the Notice of
Rescission on September 16, 2016. BAYVIEW acknowledged receipt of Plaintiff's Notice of
Rescission in a letter dated September 22, 2016. Attached as Exhibit “H” and incorporated
herein by reference is the September 22, 2016 letter from Defendant BAYVIEW. No lawsuit
was filed against Plaintiff within the 20 days as mandated under TILA.

TILA, 15 U.S.C. § 1635, Reg. Z $226.23 allows for a party to rescind the Note and
DOT by operation of law. More than twenty (20) days have elapsed without a declaratory action
being filed against Plaintiff by his creditor. Plaintiff's creditor has failed to challenge Plaintiff’ s
Notice to Rescind.

The Office Staff Commentary, clearly indicates notice to an agent can suffice as notice to
the principal and according to the Consumer Financial Protection Bureau and the Dodd-Frank
Act, a Notice to Rescind may be mailed to the mortgage servicer. Rescission rights are equally
enforceable against original creditors and assignees. Mattek v. Deutsche Bank Nat. Trust Co.,

766 F.Supp.2d 899, 902 E.D. Wis. 2011; Hubbard v. Ameriquest Mortgage Co., No. 05 CV 389,

14

COMPLAINT

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 15 of 33 Page ID #:1

2008 WL 4449888 (N.D. III. Sept. 30, 2008). Both TILA and its implementing regulation only
require rescission notification to the “creditor”. 15 U.S.C. § 1635(a); 12 C.F_R. § 226.23(a)(2).
Under TILA, a creditor refers to the person to whom the debt arising from the transaction is
initially payable on the face of the evidence of indebtedness, original lender America’s
Wholesale Lender. 15 U.S.C. § 1602(f). As noted by the Official Staff Commentary, the
creditor’s interest in the property is “automatically negated regardless of its status and
whether or not it was recorded or perfected”. (Official Staff Commentary §§ 226.15(d)(1)-1,
226.23(d)(1)-1).

Since Plaintiffs creditors have failed to challenge Plaintiff's Notice to Rescind within the
twenty (20) statutory days mandated under TILA, Defendants BOFA, as Successor to AWL, and
any other entity, cannot obtain any right or interest to enforce a contract that was made void after
September 14, 2016.

To date, Defendants and/or the actual alleged “creditor”, have failed and refused, and
continues to fail and refuse, to perform any of the acts required by 15 U.S.C.§ 1635(b).

Congress enacted TILA to be self-enforcing. The statute and regulation specify that the Security
Interest (Deed of Trust) and Promissory Note arising by operation of law on the property
becomes automatically void upon mailing of a Notice to rescind. (15 U.S.C. § 1635(b); Reg. Z §§
226.15(d)(1), 226.23(d)(1). Specific violations do not necessarily have to be alleged with
particularity (Brown v. Mortgagestar, 194 F.Supp.2d 473 (S.D.W.Va. 2002) (notice pleading is
all that is required in TILA case). Pro Se need not specify specific statute or regulations that
entitle him to relief; court will examine complaint for relief on any possible legal theory).

Justice Scalia and a unanimous Supreme Court affirmed in Jesinoski v. Countrywide, 574

U.S.__ (2015), the clear import of 15 U.S.C. $1635(a) is that a borrower need only provide

15

COMPLAINT

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(ase 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 16 of 33 Page ID#1

written notice to a lender in order to exercise his right to rescind. The statute makes no
distinction between the right to rescind in 3-days or extended as neither case nor statute
give courts equitable discretion to alter TILA’s substantive provisions. It is effective by
operation of law upon mailing. It is held immune from courts’ equitable modification authority.

The statutory scheme created by Congress in TILA requires strict compliance by creditors
when it comes to rescission. TILA rests squarely on procedure rather than substance. Ifa
creditor acquiesces or fails to challenge a borrower’s rescission within 20-days of a notice
of rescission, the rescission is complete. Any defenses after the statutory 20-day period not
only strays outside the four-corners of the Complaint, but it strays outside the strict statutory
requirements of TILA.

The courts have construed TILA as a remedial statue, interpreting it liberally for
consumer. Riggs v. Government Employees Financial Corp., 623 F.2d 68, 70-71 (9" Cir. 1980).
As the Sixth Circuit noted, “[o]nly if Congress clearly manifests its intent to limit the federal
court’s jurisdiction will it be precluded from addressing allegations of fraudulent concealment
which by their very nature, if true, serve to make compliance with the limitation period imposed
by Congress an impossibility.”

Il. PLAINTIFF HAS STANDING TO CHALLENGE AN ASSIGNMENT AS VOID

The loan was originally made to AWL and was allegedly sold and transferred to the 2005-
86CB Trust. There is no record of Assignments to either the Sponsor or Depositor as required
by the Pooling and Servicing Agreement.

In Carpenter v. Logan, 16 Wall. 271, 83 U.S. 271, 274, 21 L.ed. 313 (1872), the U.S.
Supreme Court stated:

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16

COMPLAINT

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28

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 17 of 33 Page ID #:1

“The note and mortgage are inseparable; the former as essential, the latter

as an incident. An assignment of the note carries the mortgage with it,

while assignment of the latter alone is a nullity.”

An obligation can exist without or without security. With no security, the obligation is
unsecured but still valid. A security interest, however, cannot exist without an underlying
existing obligation. It is impossible to define security apart from its relationship to the promise
or obligation it secures. The obligation and the security are commonly drafted as separate
documents — typically a Promissory Note and a DOT. If the creditor transfers the Note but not
the DOT, the transferee receives a secured Note; the security follows the Note, legally if not
physically. Ifthe transferee is given the DOT without the Note accompanying it, the transferee
has no meaningful rights except the possibility of legal action to compel the transferor to transfer
the Note as well, if such was the agreement. Kelley v. Upshaw (1952) 39 C.2d 179, 246 P.2d 23;
Polhemus v. Trainer (1866) 30C 685.

“Where the mortgagee was “transferred” only the mortgage, the

transaction is a nullity and his “assignee” having received no interest

in the underlying debt or obligation, has a worthless piece of paper

(4 Richard R. Powell), Powell on Real Property, § 37.27 [2] (2000).

By statute, assignment of the Note carries with it the assignment of the debt. In the event that a
mortgage somehow separates interests of the Notes and the DOTs, with the DOTs lying with
some independent entity, the mortgage becomes unenforceable. The practical effect of splitting
the DOTs from the Notes is to make it impossible for the holder of the Note to enforce the
DOTs, unless the holder of the DOTs is the agent of the holder of the Notes. Without the agency
relationship, the person holding only the trust will never experience default because only the

holder of the Note is entitled to payment of the underlying obligation. The mortgage loan

becomes ineffectual when the Note holder did not also hold the DOT, as in the case at bar.

17

COMPLAINT

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 18 of 33 Page ID #:1

Pursuant to State statutory law, if the DOTs and the Notes are not together with the same
entity, there can be no legal enforcement of the Notes. Thus, if the DOTs and the Notes are
separated, enforcement of the DOTs cannot legally occur. The Notes cannot be enforced by the
DOTs if each contains a different mortgagee/beneficiary; and, if the DOTs are not itself a legally
enforceable instrument as in the case at bar.

There is no evidence on Record to indicate that the DOTs was ever transferred
concurrently with the purported legal transfer of the Notes, such that the DOT and Note have
been irrevocably separated, thus making a nullity out of the purported security in a property as
claimed. (Federal Rules of Evidence, Rules 901 & 902)

A void contract is without legal effect. “It binds no one and is a mere nullity.” (Little v.
CFS Service Corp. (1987) 188 Cal.App.3d 1354, 1362.) “Such a contract has no existence
whatsoever. It has no legal entity for any purpose and neither action or inaction of a party to it
can validate it...” Colby v. Title Ins. And Trust Co. (1911) 160 Cal. 632, 644.)

Unlike a voidable transaction, a void one cannot be ratified or validated by the parties to it
even if they so desire. Colby v. Title Ins. and Trust Co., supra, 160 Cal. at p. 644; Arnoff v.
Albanese, supra, 446 N.Y.S.2d at p. 370.) Parties to a securitization or other transfer may well
wish to ratify the transfer agreement despite any defects, but no ratification is possible if the
assignment is void ab initio. In seeking a finding that an assignment agreement was void,
therefore, a plaintiff in Plaintiff MILLER’s position is not asserting the interests of parties to the
assignment; they are asserting their own interest in limiting action on their property to those with
legal authority. This, then, is not a situation in which standing to sue is lacking because its “sole
object...is to settle rights of third persons who are not parties.” Golden Gate Bridge etc. Dist. V.

Felt (1931) 214 Cal. 308, 316.)

18

COMPLAINT

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28

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 19 o0f 33 Page ID#1

Plaintiff is not challenging the securitization of his loan, Plaintiff reference the
securitization documents only to show that none of the Defendants to this lawsuit have no
standing to enforce his mortgage loan and are entitled to payments. Plaintiff has every right to
protect his property rights and due process rights guaranteed by California’s Constitution.

Tf. PLAINTIFF HAS NO OBLIGATION TO PAY AN ENTITY OTHER THAN THE
ENTITY ENTITLED TO PAYMENT

With respect to “negotiable instruments,” California’s Commercial Code § 3301
specifies as follows:
“Person entitled to enforce” an instrument means (a) the
holder of the instrument, (b) a nonholder in possession of
the instrument who has the rights of a holder, or (c) a person
not in possession of the instrument who is entitled to enforce
the instrument pursuant to Section 3309 or subdivision (d) of
Section 3418. A person may be a person entitled to enforce
the instrument even though the person is not the owner of the
instrument or is in wrongful possession of the instrument.
According to this code section, which applies to “negotiable instruments,” the instrument may
only be enforced by someone who possesses the original instrument, unless they meet the
exceptions that are set forth in Commercial Code § 3309 or § 3418(d). In the case at bar, on
information and belief, no entity or Defendant BOFA or any of its successors and/or assigns are
actual holders in due course of Plaintiff’s Note such that they could enforce Plaintiffs debt
obligation and demand mortgage payments.
On information and belief, Defendant BOFA its successors and/or assigns, if any, are not a
non-holder in possession of Plaintiff's Note who have rights of the holder.
If there was a holder in due course of Plaintiffs Note at issue, pursuant to Commercial

Code § 3301, et seq. and/or the pooling and servicing agreement, it is the entity that can establish

a pecuniary, legal, and equitable interest in the Property, and provide an unbroken chain of title

19

COMPLAINT

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28

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 20 of 33 Page ID #:40

to Plaintiff's Notes and DOTs.*

On information and belief Defendant BOFA, as Successor to AWL, its successors and/or
assigns is not entitled to enforce Plaintiff's Note pursuant to Commercial Code § 3309 or
subdivision (d) of § 3478. No entity, including Defendant BOFA and its successors and/or
assignees have a secured or unsecured legal, equitable, or pecuniary interest in Plaintiff's Notes
and DOTs as required under California law — irrespective of who is actually in physical
possession of Plaintiff's Note.

Commercial Code $ 3301 helps to determine whether or not there had been a “breach” of
the Note secured by the DOT that would have entitled an entity to payment. Ifa lender has
perfected its security interest by possessing the original Note or falling within one of the two
statutory exceptions then they have the right to receive the mortgage payments. On the other
hand, if an entity seeking to collect mortgage payments is not authorized to payment due to lack
of compliance with Commercial Code § 3301, that entity cannot properly claim that there has
been a “breach” that triggers the right to payment. If the Court were to reach any other result, it
would create a conflict of laws and would put borrowers in irreparable harm and would deny

them their right to due process.

* The testimony of Linda DeMartini, a 10-year litigation manager for Countrywide, in In Re Kemp, Case No. 08-
18700-JHW, (Bankr. D.N.J. November 16, 2010) (for publication) exposed the shoddy handling of mortgage notes
and deeds of trust of securitized mortgages required to perfect “holder in due course” status. In that case Linda
DeMartini described how Countrywide failed to adhere to the most rudimentary of securitization procedures, such as
transferring the original promissory note to the trusts that had purchased the loans, as required under the pooling and
servicing agreement. Ms. DeMartini testified that it was standard practice for Countrywide to warehouse the
original mortgage notes, which were stored in Simi Valley, California, despite securitization contracts that required
the notes to be physically transferred to sponsors, trustees or custodians of the securitized trusts. The findings in
court decisions all over the country, news stories, attorneys generals’ complaints, and state and federal investigations
reveal that business practices like Countrywide’s were common place and, like Countrywide, most lenders failed to
properly comply with protocols required to properly securitize mortgage loans. Ms. DeMartini’s testimony has been
corroborated by Abigail Field of CNN, who reviewed foreclosures filed in two New York counties between 2006
and 2010 in which Bank of New York was foreclosing on behalf of a Countrywide securitization trusts, and found
that none of the 104 loans that were examined were endorsed by Countrywide: “..If the lack of endorsement on
these notes is typical — and 104 out of 104 suggests it is — the problem occurs across Countrywide securities.” See
Abigail Field, At Bank of America, More Incomplete Mortgage Docs Raise More Questions. Fort., (June 3, 2011),
http://finance. fortune.cnn.com/20 1 1/06/03/at-bank-of/america-moreincomplete-mortgage-docs-and-more-questions/.

20

COMPLAINT

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 21 of 33 Page ID #:41

It is not correct that a borrower has no cognizable interest in the identity of the party
enforcing his or her debt. Though the borrower is entitled to object to an assignment of the
Promissory Note, he or she is obligated to the debt, or suffer loss of the security, only to a person
or entity that has actually been assigned the debt. See Cockerell v. Title Ins. & Trust Co., supra,
42 Cal.2d at p. 292 [party claiming under an assignment must prove fact of assignment].) The
borrower owes money not to the world at large but to a particular person or institution,
and only the person or institution entitled to payment may enforce the debt. Yvanova v. New
Century Mortgage Corp. (2016) 62 Cal.4" 919.

IV. NOT TENDER IS REQUIRED
Tender of the full outstanding debt is not required. Several courts have recognized a
general equitable exception to applying the tender rule where “it would be inequitable to do so.”
Onofrio v. Rice, 55 Cal. App. 4" 413, 424 (1997) (internal citations and quotations omitted).

It has been established that tender is not required when the action attacks the validity
of the underlying debt because the tender would constitute an affirmation of the debt. Lona v.
Citibank, N.A., 202 Cal. App.4" 89, 112-13 (2011) (identifying four exceptions to the tender
rule); Sacchi v. Mortgage Electronic Registration Systems, Inc. (C.D. Cal., June 24, 2011, CV
11-1658 AHM CWX) 2011 WL 2533029, at *9-10 (citing Onofrio v. Rice, 55 Cal. App. 4" 413,
424 (1997); Stockton v. Newman, 148 Cal.App. 2d 558, 564 (1957); see also Vogan v. Wells
Fargo Bank, N.A., No. 2:11-CV-02098-JAM-KJN, 2011 WL 5826016, *7-8 (E.D. Cal. Nov. 17,
2011) (The Court holds that the tender requirement does not apply to this case because Plaintiffs
are challenging the beneficial interest held by U.S. Bank in the deed of trust, not the procedural
sufficiency of the foreclosure itself.”); Foulkrod v. Wells Fargo Financial California Inc., No.

CV 11-732-GHK (AJWx) (C.D. Cal. May 31, 2011) (“...requiring plaintiff to tender the amount

21

COMPLAINT

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28

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 22 of 33 Page ID #:42

due on his loan at this time would be illogical and inequitable give that he disputes that Wells
Fargo has any rights under the loan.”’)

Furthermore, pursuant to TILA, after Plaintiff's Notice to Rescind was received by
Defendants they had two options to take within the statutory twenty (20) day calendar period. It
could have begun the unwinding process by returning the down payment or earnest money and
taking action to “reflect the termination of [the] security interest,” pursuant to 15 U.S.C. §
1635(b). Those actions would, in turn, have triggered Plaintiff's obligation to tender a payoff of
the remaining amount. See Lippner v. Deutsche Bank Nat'l Trust Co., 544 F. Supp. 2d at 702
(“The issue of whether [the borrower] can satisfy her rescission obligations [does] not arise until
[the lender] ha[s] completed [its] obligations pursuant to TILA.”’) In the alternative, Plaintiffs
creditors, could have filed a declaratory lawsuit against Plaintiff to dispute Plaintiff's right to
rescind the loan. Defendants never did and the time for them to act has expired. Under TILA,
after the statutory twenty (20) days are completed, the rescission is no longer subject to attack
and its effective upon the date it was mailed.

V. PLAINTIFF HAS SUFFERED AND CONTINUE TO SUFFER
SIGNIFICANT LEGAL AND EQUITABLE DAMAGE

The conduct described above by Defendants are malicious because they knew that they
were not acting on behalf of the current pecuniary beneficiary of the Notes and DOTs. However,
despite such knowledge, said Defendants continued to demand and collect Plaintiff's mortgage
payments.

As a direct and proximate result of the actions of the Defendants set forth above, the title
to Plaintiff's home has been slandered, clouded, and its salability has been rendered

unmarketable.

22

COMPLAINT

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28

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 23 of 33 Page ID #:2

The conduct of Defendants has caused Plaintiff to suffer pecuniary damages. The
pecuniary damages include, but are not limited to, the costs over calculation and overpayment of
interest, the costs of repairing Plaintiff's credit, the costs associated with the removing of the
cloud from his title, and attorneys’ fee, if any, in an amount to be proven at trial.

FIRST CAUSE OF ACTION — FRAUD
[Against All Defendants]

1. Plaintiff hereby incorporates by reference each and every one of the preceding
paragraphs as if the same were fully set forth herein.

2. Defendant BOFA, as Successor in Interest to AWL and Defendants BNYM and
BAYVIEW misrepresented material facts within the loan process used in the DOT and also
misrepresented material facts within the Notes when it had claimed to have legal authority to
conduct residential loans.

3. Defendants concealed facts known that was relevant to the illegal/unauthorized
business practices, namely that AWL, at no point during the times alleged herein, has ever been
duly legally authorized by the States of New York and California to engage in residential
lending.

4. Defendants unlawfully and without legal authorization entered into a contract, the
DOTs, at a time when AWL was not lawfully registered and/or active, in violation of California
Laws.

5. Defendants knew, or at least should have known that by manufacturing the DOTs and
Notes, and having an illegal, invalid, unregistered business in the State of California, and upon
recording it with the Los Angeles County Recorder’s Office, all persons viewing it would rely on

its alleged truthfulness at the detriment of Plaintiff.

23

COMPLAINT

3

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Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 24 of 33 Page ID#:2

6. Defendants did in fact owe Plaintiff an absolute fiduciary duty to disclose all matters
which might be relevant to the legality of the documentation being recorded against Plaintiff’ s
Property, namely that their own corporation, AWL, had NO rights to conduct business in the
State of California and was not legally authorized to conduct business in the State of California
and is still not legally and/or lawfully authorized to engage in lending practices in the State of
California.

7. Defendants, having superior knowledge and skills, knew that Plaintiff would not
immediately become aware of the facts hidden and not disclosed, and that Plaintiff would not be
able to readily discover the material facts associated with the illegal/unauthorized fraudulent
actions associated with the DOTs and Notes, namely that AWL at all times mentioned herein,
was never duly authorized by the State of California to engage in business practices that violate
California Corporate, Revenue & Tax and Financial laws.

8. Defendants all knew that by the recordation of the illegal/unauthorized fraudulent
DOTs and Notes, these wrongful and illegal acts of AWL became a violation of both California
law and a violation of federal law.

9. Defendants knowingly acted with a total disregard for the truth of the material facts
stated within the recorded DOTs, and that Plaintiff and others would have to rely on the
misleading, illegal, unlawful statement of conveyance of AWL and Doe Defendants in
responding to such recorded instruments, namely Instrument Numbers 05 3129929 and 05
3129930.

10. Defendants all knew that their actions of allowing the illegally created and
unauthorized DOTs to be recorded with the Los Angeles County Recorder’s Office would

immediately cause Plaintiff to suffer financial injury and damages. If Defendant and not

24

COMPLAINT

4

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Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 25 of 33 Page ID#2

willfully, illegally and intentionally authorized fraudulent actions regarding the certification of
the DOTs, Plaintiff would not have been made to suffer any of the resulting injuries, harm and
damages.

11. Defendants all knew that their representation of the misrepresented facts would flow
into the damages and injuries to Plaintiff, and Defendants knew that Plaintiff MILLER would in
fact have to rely on the misrepresentations presented, and in fact, recorded in the Los Angeles
County Recorder’s Office of the fraudulently and falsified DOTs, and without their illegal,
unlawful, and unauthorized acts and actions of the fraudulent conveyance by AWL, and the
resulting reliance thereupon by anyone who came to rely upon what is shown within the DOTs
would in fact cause Plaintiff to have had to suffer damages and injuries by AWL’s own
illegal/unauthorized actions.

12. Defendants engaged in conspiratorial misrepresentations in the acts associated with
any type of fraudulent conveyance of the DOTs, with the clear knowledge or, and with the
approval of AWL, and that such would not only flow into the damages and injuries of Plaintiff,
but would be the predominately decisive and substantial factor in influencing the conduct of
Plaintiff MILLER and each person, including the Los Angeles County Recorder’s Office, who,
among others, would come to rely upon the DOTs in regards to the wrongful, illegal,
unauthorized use of the recordation process used by AWL to wrongfully, illegally, and without
authorization, invoke the power contained within the DOTs upon the subject property.

13. In this instant matter, Defendants knew, or should have known that AWL should have
not engaged in conduct (making residential mortgage loans) without having the proper license.
AWL failed to disclose to Plaintiff MILLER that AWL was not the true creditor and was not

licensed, registered or authorized to make loans/and/or conduct business in California.

25

COMPLAINT

5

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Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 26 of 33 Page ID #:46

14. Clearly AWL engaged in predatory lending, in particular, AWL violated California
Financial Code § 4973 by their complete failure to provide Plaintiff the necessary required
consumer cautions regarding, at the very minimum, the simple fact that AWL was a non-existent
entity and not licensed to conduct any type of residential loan business in the State of California.

15. Plaintiff MILLER would not have entered into a contract that was:

a) with a company that was not duly licensed to conduct business in the State of
California; and

b) which included fraudulent statements to induce Plaintiff to act; and
c) done with the intent to defraud Plaintiff out of the subject property.

16. The illegal and unauthorized acts and actions of AWL and Defendants involves the
intentional, willful, conscious disregard to the wrongful despicable conduct of failing to stop
doing business long after having full knowledge that AWL was not registered with the State of
New York as a New York Corporation or the California Secretary of State as a foreign entity to
do business in the State of California, and for entering a contract with Plaintiff MILLER.

SECOND CAUSE OF ACTION — BREACH OF THE IMPLIED CONVENANT OF

GOOD FAITH AND FAIR DEALING
[Against All Defendants]

17. Plaintiff hereby incorporates by reference each and every one of the preceding
paragraphs as if the same were fully set forth herein.

18. Every contract imposes upon each party a duty of good faith and fair dealing in its
performance and its enforcement. This implied covenant of food faith and fair dealing requires
that no party will do anything that will have the effect of impairing, destroying, or injuring the
rights of the other party to receive the benefits of their agreement. The covenant implies that in

all contracts each party will do all things reasonably contemplated by the terms of the contract to

26

COMPLAINT

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Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 27 of 33 Page ID #4

accomplish its purpose. California Civil Code Section 1550:
19. Pursuant to Section 1550, it is essential to the existence of a contract that there should
be the following:
1. Parties capable of contracting;
2. Their consent;
3. A lawful object; and,
4. A sufficient cause or consideration.

California Civil Code § 1640 states that when, through fraud, mistake, or accident, a
written contract fails to express the real intention of the parties, such intention is to be regarded,
and the erroneous parts of the writing disregarded.

California Civil Code § 1575 states undue influence consists of the following:

1. In the use, by one in whom a confidence is reposed by another, or who holds a
real or apparent authority over him, of such confidence or authority for the
purpose of obtaining an unfair advantage over him;

2. In taking an unfair advantage of another’s weakness of mind; or,

3. In taking a grossly oppressive and unfair advantage of another’s necessities or
Distress.

California Civil Code § 1558 states it is essential to the validity of a contract, not only that
the parties should exist but that it should be possible to identify them. Jackson v. Grant (9" Cir.
1989) 890 F.2d 118, 121.

This covenant protects the benefits of the contract that the parties reasonably contemplated
when they entered into the agreement.

20. Alternatively, if the Notes and DOTs was not legally valid and improperly authorized,

then AWL, Defendants, and all associated with the DOTs and Notes did not act in good faith and

27

COMPLAINT

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Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 28 of 33 Page ID #:48

did not deal fairly with Plaintiff MILLER in connection with the Notes and DOTs when it was
fraudulent, illegal, and unauthorized publication of the DOTs, the Defendants relied upon to
perpetuate this fraud upon the Plaintiff and other “unsuspecting” California residents and
taxpayers.

21. AWL and Defendants enjoyed substantial discretionary power affecting the rights of
Plaintiff MILLER during the events alleged in this Complaint. They were required to exercise
such power in good faith.

22. Defendants engaged in such conduct without standing or the authority to drive
Plaintiff's Property into a foreclosure setting so that they could acquire Plaintiffs Property at a
bargain basement price. These actions were a bad faith of the contract between Plaintiff
MILLER and AWL and Defendants, which proves that they had no intention of performing the
terms and conditions within the contract, existing inside the original Notes and DOTs, in good
faith.

23. Defendants willfully breached their implied covenant of good faith and fair dealing
with Plaintiff MILLER when the DOTs were created and listing AWL, a non-existent New York
entity, as Lender. AWL without a valid California’s Lender license, allowed the execution of the
DOTs and Notes on Plaintiff Property.

24. Asa result of the actions as stated above and below, Defendants breached this
covenant, and Plaintiff MILLER has suffered general and special damages in the amount to be
determined at trial.

THIRD CAUSE OF ACTION — VOID AND/OR CANCEL AB INITIO THE DEEDS OF

TRUST AND PROMISSORY NOTES
[Against All Defendants]

25. Plaintiff hereby incorporates by reference each and every one of the preceding

28

COMPLAINT

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28

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 29 of 33 Page ID#:2

paragraphs as if the same were fully set forth herein.

26. BOFA, as Successor in Interest to AWL, and Defendants engaged in acts of Fraud in
the Execution of the DOTs and Notes, when AWL created a contract (the DOT) while not being
duly authorized and/or duly licensed to not only conduct business in the State of California.

27. Plaintiff MILLER alleges and contends that the DOTs and Notes, if it is to be relied
upon for any reason related to this litigation, is void for fraud in the execution. “When a plaintiff
alleges fraud in the execution...(and) a contract fraudulently induced is voidable; but a contract
fraudulently executed is void, because there never was an agreement. See Brown v. Wells Fargo
Bank, N.A. (2008) 168 Cal.App.4" 938, 958.

28. The DOTs and Notes were recorded with the Los Angeles County Recorder’s Office
on December 20, 2005 as Instrument No 05 3129929 and 05 3129930.

29. Plaintiff MILLER acknowledges that reasonable reliance is a necessary element in
fraud in the execution...that is, the Plaintiff's failure to discover the true nature of the fraud in
regards to AWL not existing or being unlicensed and the predatory loan was without negligence
on the Plaintiff's part, and AWL, et al., failure to exercise its fiduciary duty may constitute
constructive fraud as well the fraudulent acts mentioned above and below.

FOURTH CAUSE OF ACTION — CANCELLATION OF A VOIDABLE CONTRACT

UNDER REVENUE & TAX CODE §§ 23304.1, 23305a et. seq.
[Against Bank of America]

30. Plaintiff hereby incorporates by reference each and every one of the preceding
paragraphs as if the same were fully set forth herein.

31. Based upon information and belief, Defendant BOFA, as Successor in Interest to
AWL, was operating in the State of California, as a non-existent, unlicensed corporation that had

no rights to conduct any type of residential mortgage lending business in the State of California,

29

COMPLAINT

9

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 30 of 33 Page ID #:30

and without registering as a foreign corporation to avoid paying taxes to the state.

32. Asa result of Defendant’s failure to comply with the California franchise tax laws, the
DOT alleged herein is voidable by Plaintiff pursuant to Rev. & Tax Code §§ 23304.1,
23304.1(b), and 23305a.

33. Moreover, AWL, a non-existent New York corporation, was in the business of creating
evidences, and it was an unincorporated foreign corporation that had no rights to conduct
business in the State of California, that originates loans, and never had any true legal and/or
legitimate interest in the subject loan or DOT and Note and thereby does not meet any legal
exceptions to the registration requirement for corporations doing business in the State of
California, acting as a residential mortgage lender.

34. Defendant BOFA, as Successor in Interest to AWL, conducted business in California
when its status as a corporation was non-existent and not registered with the Secretary of State.
Specifically, it prepared and/or executed Plaintiff's DOTs and Notes on the subject property on
December 20, 2005.

35. At all times relevant herein, Defendant BOFA, as Successor in Interest to AWL, was
not registered in California and could not prepare or execute the DOTs and/or Notes.

36. AWL had no legal authority to take such actions. DOTs are contractual in nature. A
contract made by either a non-existent/unregistered corporation doing business in California
and/or corporation that has failed to perform its franchise tax obligations is voidable at the option
of any party to the contract, other than the delinquent taxpayer, and Plaintiff MILLER is, in fact,
a party to the contract and seeks to thereby void, ab initio, the contract, i.e., the DOTs and the
Notes.

37. Thus AWL did not have the legal capacity to enter into a contract with Plaintiff

30

COMPLAINT

Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 31 of 33 Page ID #:3

MILLER or anyone else, and Plaintiff MILLER has the option of voiding the contracts.
Therefore, any action that AWL takes and/or took with regard to assigning the within DOTs and
Notes would be ultra vires and void.
38. Plaintiff MILLER thereby expressly request an adjudication of the effect that the
DOTs and the Notes, issued and/or recorded by AWL are void ab initio for all purposes.
FIFTH CAUSE OF ACTION — VIOLATION OF CALIFORNIA CORPORATIONS

CODE § 191(C)(7)
[Against Bank of America]

39. Plaintiff hereby incorporates by reference each and every one of the preceding
paragraphs as if the same were fully set forth herein.

40. Defendant BOFA, as Successor in Interest to AWL, was a non-existent foreign
corporation that was transacting business in the State of California, which had failed to qualify
and cannot maintain an action, except upon the satisfaction of certain conditions pursuant to
California Corporations Code § 2203(c).

41. Plaintiff MILLER first has the burden of proving that AWL was a non-existent and
unauthorized business in California and Plaintiff MILLER believes he has met that burden on
this court.

42. Once Plaintiff MILLER establishes the bar of the statute then the non-
existent/unregistered foreign corporation (AWL) must comply with Section 2203(c).

43. Section 2203(c) is clear and unambiguous on its face. Section 2203(c) is literally and
unambiguously inapplicable to actions commenced after compliance with Section 2105(c).
O’Connel God Mines, Ltd v. Baker, 63 App.2d at p. 389.

44. The statute, Section 2203(c) is to be narrowly construed to effect its remedial purpose.

American Etc. Wireless v. Superior Court, 153 Cal. at p. 536.

31

COMPLAINT

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Case 2:16-cv-07528-AB-GJS Document1 Filed 10/07/16 Page 32 of 33 Page ID#4

45. The purpose of the Certificate of Qualification is to facilitate service of process and to
protect against state tax evasion. Neogard Corp. v. Malott & Peterson-Grundy (1980) 106 Cal.
App.3d 213, 219 [164 Cal.Rptr.813]. The qualification statute assures responsible and fair
dealing by corporations and equalizes the regulation of foreign and domestic corporations. (Id.
at p. 223)

46. The qualification statute also serves the purpose of preventing tax evasion by
corporations, but it is not primarily a taxation measure. Revenue and Taxation Code § 23301 isa
taxation measure and precludes a corporation, which has failed to pay its taxes from bringing or
defending an action.

SIXTH CAUSE OF ACTION — BREACH OF FIDUCIARY DUTY
[Against All Defendants]

47. Plaintiff hereby incorporates by reference each and every one of the preceding
paragraphs as if the same were fully set forth herein.

48. Defendants knew, understood and recognized the risks created by their actions of
illegally, unlawfully and without authorization, signing, notarizing and witnessing the DOTs and
Notes.

49. Defendant BOFA, as Successor in Interest to AWL, and Defendants BNYM and
BAYVIEW owed Plaintiff MILLER a duty not to make use of their non-existent, invalid,
unauthorized Corporate business license to commit financial fraud against Plaintiff MILLER.

50. Defendant BOFA breached that duty by engaging in such practices, and conspired with
Defendants BNYM and BAYVIEW in such a way as to behave in a manner that any reasonable
person, company, corporation and/or its employees would not have behaved under the same or

similar circumstances.

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COMPLAINT

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Case 2:16-cv-07528-AB-GJS Document 1 Filed 10/07/16 Page 33 of 33 Page ID #:3

51. And that by engaging in acts to an agreement to conspire to commit Financial Fraud
against Plaintiff MILLER, and fraudulently engage in business practices without lawfully
existing, without lawfully and duly issued corporate business license by the State of California or
New York instead of the usual/lawful way (of documenting/obtaining/showing license authority)
show that AWL knew and was aware of their deliberate illegal and unauthorized wrongful acts
with the resulting consequences and the resulting damages and harm to the Plaintiff that would
cause damages and harm to Plaintiff and make Plaintiff suffer therefrom based on the actions of
Defendants.

52. The Defendants and AWL knew that by committing financial fraud while being
unlicensed within the State of California, as duly and necessarily required to convey real
property in the State of California, is illegal, unauthorized and not an acceptable way to convey
real property in California, yet AWL chose rather to take the chance of breaking the law
(California Penal Code Sections 115 and 115.5), with the full knowledge and forethought that
AWL was not lawfully or legally authorized to do so by the State of California or Federal law.

53. Defendants knew they were violating California law while engaging in residential
lending practices while being non-existent and unlicensed, and that to enter into a fraudulent
contract with someone like Plaintiff MILLER would result in Financial Fraud when AWL
caused to be recorded with the Los Angeles County Recorder’s Office Instruments 05 3129929
and 05 3129930, and knew further that Plaintiff's property rights were being violated by AWL
especially what type of loss and damages that could and did occur and continues to happen to the
Plaintiff, based on the actions of Defendants and AWL of converting the real property of

Plaintiff MILLER for their own personal use and gain.

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COMPLAINT

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